J. V. LEYDIG, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Leydig v. CommissionerDocket No. 7109.United States Board of Tax Appeals15 B.T.A. 124; 1929 BTA LEXIS 2919; January 29, 1929, Promulgated *2919  1.  The right to oil and gas royalties is an assignable property right, and following an assignment of a fractional interest therein by taxpayer to his wife, royalties payable on such fractional interest are income of the assignee by virtue of her ownership and taxable only to her.  2.  An assignment, reciting a nominal consideration and purporting to convey an interest in the oil and gas royalty interests then held or to be acquired by the land-owner, conveyed an interest in the royalty right then in being, but could not operate as a present conveyance of royalties rights to be acquired as no such rights existed.  3.  Nor could such assignment operate as a contract to convey upon subsequent acquisition or as a contract to divide the royalties when received, as there was no valuable consideration to support such executory contract provisions.  Albert A. Jones, Esq., for the petitioner.  F. S. Easby-Smith, Esq., for the respondent.  SIEFKIN*124  This proceeding is for the redetermination of a deficiency in income tax for the calendar year 1920 in the amount of $14,132.20.  *125  The petitioner alleged but one error, to wit: "That the*2920  Commissioner of Internal Revenue erred in including as taxable income of this taxpayer for the year 1920 the proceeds from a royalty interest which had been transferred to and was the property of Grace Leydig, the wife of this taxpayer." FINDINGS OF FACT.  The petitioner is an individual residing at Newton, Kans.  Grace Leydig is his wife.  They were married some time prior to January 1, 1900, and at the time of their marriage the petitioner had three or four hundred dollars and his wife had about one hundred dollars, all of which they invested in livestock and feed.  They rented a farm and made their home on it.  The petitioner has ever since been engaged as a farmer.  During all of this time his wife has assisted him in various ways with the farm work.  She drove teams, shocked corn and oats, and did chores.  She also made butter and sold butter and cream.  On January 2, 1900, petitioner acquired title to the farm, in his own name, which he had formerly rented, and on February 7, 1903, he acquired title to an adjoining farm in his own name.  The cash paid on account of the purchase of these properties and that used for the satisfaction of a mortgage on one of the properties was*2921  derived from the sale of farm products.  Before the petitioner acquired these tracts of land and at the time he acquired them, he and his wife had an oral understanding that the wife was to have a one-half interest in the property.  On March 11, 1916, the petitioner and his wife entered into an oil and gas lease with W. M. Dedrick, affecting a portion of the properties above mentioned.  The lease provided in part as follows: * * * That the said parties of the first part, for and in consideration of the sum of One Dollar, to them in hand well and truly paid by the said party of the second part, the receipt of which is hereby acknowledged, and of the covenants and agreements hereinafter contained on the part of the party of the second part to be paid, kept and performed, have granted, demised leased and let and by these presents do grant, demise, lease and let unto the said second party, his heirs, executors, administrators, successors or assigns, for the sole and only purpose of mining and operating for oil and gas, and of laying pipe lines, and of building tanks, powers, stations, and structures thereon, to produce and take care of said products, all that certain tract of land*2922  situated in the County of Butler, State of Kansas, described as follows, to-wit: * * * It is agreed that this lease shall remain in force for a term of one year from this date and as long thereafter as oil or gas, or either of them, is produced from said land by the party of the second part, his heirs, administrators, executors, or assigns.  In consideration of the premises, the said party of the second part covenants and agrees: *126  1st.  To deliver to the credit of the first parties, their heirs or assigns, free of cost, in the pipe line to which it may connect its wells, or if no pipe line, then in tanks to be furnished and provided by said second party, the one eighth (1/8) part of all oil and gas produced and saved from the leased premises.  And said first parties to have gas free of costs from any such well for domestic farm purposes on the entire North Half (1/2) of said Section 18, in Township 23, S, of Range 4 East, in Butler County, Kansas, by making their own connections.  2nd.  The said party of the second part agrees to commence the drilling of a well on said premises, within six months from the date hereof, and if such drilling is not so commenced, the*2923  said party of the second part agrees to and shall pay said first parties the sum of $120.00 in advance for the succeeding six months or this lease shall terminate.  Oil was struck on petitioner's farm in July of 1918.  On August 3, 1918, the petitioner and his wife entered into an agreement (in substantially the same form as the instrument set out above) with J. A. Mason, J. B. Bonds, H. B. Mason, and J. F. Boggess, covering a separate portion of the farm lands and also granting oil and gas rights under the terms of which the lessees were to deliver to the credit of the lessors one-fourth of all oil produced, and one-eighth of all gas produced.  On the first of August, 1918, at which time petitioner was considering giving the second lease as set out in the preceding paragraph, the petitioner executed an instrument designated an assignment.  This assignment, which resulted from the advice of income tax advisors that the oral agreement concerning the wife's share in the land be put in writing, was as follows: WHEREAS, J. V. Leydig, now holds the fee title to the following described property, located and situated in Burtler County, Kansas, to-wit: The North Half (N 1/2) of section*2924  eighteen (Sec. 18) Township Twenty three sough (Twp. 23 S.) Range Four (R. 4) East, and, WHEREAS, the acquisition of the said property was due to the joint efforts of the said J. V. Leydig and his wife, Grace Leydig, NOW, THEREFORE, in consideration of the sum of One Dollar, the receipt of which is hereby acknowledged and love and affection existing between and among the parties hereto, the said J. V. Leydig, hereby and by these presents does assign, set over, transfer and convey to the said Grace Leydig, an undivided one-half interest in and to any and all oil and gas royalty interests which may have been heretofore or shall be in the future received or retained by the said J. V. Leydig.  Dated this the first day of August, 1918.  (Signed) J. V. LEYDIG.  On the same date an instrument designated as an agreement was signed by both petitioner and his wife, covering the same property.  NOW, THEREFORE, in consideration of the above mentioned assignment and an oral agreement existing between the parties hereto, the said J. V. Leydig, party of the first part and Grace Leydig, party of the second part, do hereby and by these presents agree that all monies derived from the said*2925  oil and gas royalty *127  interests are the joint property of each of the parties hereto, and that said parties shall have equal access to and own the same share and share alike, and may at any time demand an accounting for the monies so received or retained.  For the year 1920, the Leydigs rendered separate returns and divided the receipts from the royalty interests equally between them.  The Commissioner recomputed the income of petitioner and increased the same by the amount of half the total royalty interests received.  OPINION.  SIEFKIN: We have not been told the amount of income which the petitioner contends has been erroneously added to his reported income, but the deficiency notice informs us that the petitioner's tax of $14,132.20 is the result of a decision of the Commissioner of Internal Revenue that the entire amount of oil royalties received by the petitioner should be included in his income.  The petitioner contends that half of these royalties belong to his wife and constituted no part of his own income.  To support this contention he calls our attention to the work performed by his wife on the farm, to an oral agreement, to a written agreement, and to an*2926  assignment, all of which have been described in our findings of fact.  Considering, first, the work performed by the wife on the farm, we find that under the Revised Statutes of the State of Kansas, 1923, ch. 23, art. I, sec. 204, it is provided that the earnings of a married woman from her labor shall be her sole and separate property.  In ; , the Supreme Court of the State of Kansas made the following statement.  According to the usual interpretation of statutes similar to our own, the wife is entitled to treat as her separate property the proceeds of her labor outside of her ordinary household duties.  21 Cyc. 1393; 25 A. &amp; E. Encycl.  of L. 357.  A question for our consideration is whether Grace Leydig has performed any labor outside of her ordinary household duties, and whether, in case she has performed such labor, we can say that she is entitled to any particular amount as her separate property.  We have been unable to find any Kansas decision involving farm labor holding that a wife is entitled to compensation for the assistance she may afford her husband in the work on the farm. *2927  An exhaustive examination of the law of other jurisdictions, however, discloses some cases of this nature.  Some of these cases hold that a wife is entitled to have the proceeds from her labor on the farm as her separate property, but in every such case, some unusual element was present which influenced the decision of the court, e.g., the husband conducted a separate business, leaving the wife to manage the farm, or the *128  husband was incapacitated by ill health or by drunkenness.  The case of ; , is more nearly in point for the purpose of the present case than any other case we have been able to find.  The State of Michigan at the time of the decision of this case had a so-called Married Women's Act under which a wife was entitled to her separate earnings.  In commenting upon the effect of this Act, the court made the following statement: It is the claim of the plaintiff, (and the learned circuit judge so instructed the jury) that the passage of said Act changed the relationship of the parties, and that thereafter the law would imply an agreement between plaintiff [wife] and defendant [husband] *2928  to the effect that defendant should pay to plaintiff a reasonable value of her services.  We find ourselves unable to agree with this view.  Plaintiff went with her husband upon the farm of the defendant, and there made it her home.  Such services as she rendered were rendered as a member of her husband's family, in her husband's home, and were the ordinary services a farmer's wife renders in his own home.  In the present case no effort has been made to show us that the services performed by the wife were other than the ordinary services a farmer's wife renders, or that they were outside of her ordinary household duties.  No effort was made to show us what her services in connection with the farm work were reasonably worth and we are unable to find that any part of the purchase price paid for the two farms in question was her separate property.  Therefore, we can not find that a trust arose for her benefit when the title to the property was taken solely in the name of her husband, or that she was the owner in law or in equity of any part of or interest in the real estate.  The oral agreement between the petitioner and his wife is of no benefit to the petitioner in this case.  This*2929  oral agreement was no more than a promise made by the husband which, under the Statute of Frauds, could not be enforced in the absence of writing.  Revised Statutes of Kansas, 33-106.  The later written agreement was to the effect that all moneys derived from the oil and gas royalty interests were to be the joint property of the husband and wife.  This written agreement had no effect upon the question of whose income the royalties were, inasmuch as it only took effect after the income was received.  This leaves then for our consideration the assignment dated August 1, 1918.  A brief examination of the nature of the property rights reposing in petitioner at the time the assignment was made is helpful in determining the force and effect of such assignment.  We need not here indulge an extended discussion in an attempt to harmonize the apparent diversity of opinion concerning the nature of a landowner's rights in oil and gas under his land.  The majority view seems to be in accord with ; *2930 , in holding such rights amount to title.  Where this view is *129  adopted, it is well recognized that such title as exists may be defeated by the oil or gas passing into or under the land of another.  At the other extreme is the view that the landowner's rights therein amount merely to the exclusive right to drill on his own land and appropriate such oil and gas as he can bring to the surface. ; . In affirming that decision, however, the United States Supreme Court points out that the property in the oil and gas is in the owners of the land in which the pool is found, as distinguished from the property rights in animals ferae naturae which are in the public.  . This diversity of views as to fundamental concepts of rights to oil and gas underlying land is resolved into distinctions without differences for purposes of the case herein presented.  All jurisdictions recognize that the landowner may grant an oil and gas lease as an incident of his title.  That the purported leases granted before and after the discovery*2931  were leases, as distinguished from conveyances of oil and gas in place, is clear.  ; ; ; . The cases generally hold such a lease an incorporeal hereditament.  See Thornton, The Law of Oil &amp; Gas, 3d Ed., vol. 1, p. 78.  It is likewise clear that the right to receive royalties under a lease is an interest in land.  "Royalties [in the sense used] is another term for rent * * *." Thornton, supra, p. 387.  Thompson on Real Property, vol. 1, sec. 240 says: Rents are a specie of incorporeal hereditaments, and as such they are rights to receive money out of the profits of land.  They issue out of and are collateral to corporeal property, but are no part thereof and exist independently of its possession or enjoyment.  In the feudal economy, rent had a two-fold quality.  It was regarded as something issuing out of the land as a compensation for the possession, and also as an acknowledgment by the tenant to the lord of his fealty or tenure.  Unaccrued rents are not personal property.  They are incorporeal hereditaments.  They are an*2932  incident to the reversion and follow the land.  They pass with a sale or devise of the land.  If transferred apart from the land, the provision of the statute of frauds relating to sales of land applies.  In fact, although separable from the reversion, they are, until such separation, part of the land.  The fact that the obligations to pay rent under the leases in question are in the form of a covenant, makes them none the less interests in land as such covenants run with the land.  Thompson on Real Property, supra, p. 324.  To the same effect is the decision in ; , in which the court held that covenant to pay rent is real and runs with the land, "the land is the principal debtor and the covenant to pay rent is incident.  It follows the land upon which it is chargeable * * *." What *130  has been said, as well as the discussion below, may seem to indicate that the right to royalty is real property.  The royalty interest is, however, by statute (R. S. Kansas, 79-329, 330) classified as personal property for tax purposes in the State of Kansas.  We have not examined the authorities*2933  at length to determine whether the right to royalty is real or personal property, the question being immaterial to the issues presented in the instant case, as the assignment was a writing which satisfied the statute of frauds if the interest be realty, and there was no subsequent attempt to assign, either orally or in writing.  Our inquiry is not whether the property was real or personal but whether it is assignable and was in fact assigned.  That it is an assignable right is no longer an open question.  As a general rule it apparently passes as part of the lessor's reversionary interest in the land, but it may be severed from such reversion by assignment, conveyance or reservation.  ; . In , and ; , the Kansas Supreme Court assumes such right to be assignable.  See also Thompson on Real Property, vol. 1, secs. 240 and 249, to the same effect concerning rights to rent generally.  The petitioner, at the date of the purported assignment, held the reversion in the tract of land that had*2934  already been leased.  With respect to the same tract he held another interest - the right to receive the royalties under the lease, which was an assignable property right.  He also held another tract of land at the time of the assignment on which he was then contemplating the grant of an oil and gas lease.  He subsequently leased such property.  The terms of the assignment provided that petitioner "hereby and by these presents does assign, set over, transfer and convey to the said Grace Leydig, an undivided one-half interest in and to any and all oil and gas royalty interests which may have been heretofore or shall be in the future received or retained by the said J. V. Leydig." Manifestly, petitioner attempted to assign a share of the royalty interests then held by him or to be held by him upon the granting of additional leases upon the tracts recited in the instrument.  We think there is no ambiguity in the instrument as to petitioner's intention.  If there is such ambiguity, the evidence of record, that one lease had been granted and another was contemplated, makes petitioner's intention clear.  We think it clear that the assignment operated to vest one-half of the then existing*2935  royalty interest in his wife.  Respecting the royalty interests which "shall be in the future received or retained," the assignment attempted to convey an interest in a property right not yet in existence.  At the time petitioner held all rights respecting the ooil and gas underlying the land.  He might have conveyed the right to *131  rents and royalties in the oil and gas.  The case of ; , goes so far as to hold such a conveyance amounted to a transfer of an undivided interest in the oil and gas fee.  But the instrument in question refers to an interest, the creation of which depends upon whether petitioner thereafter granted an additional lease on the land.  In ; , in interpreting an assignment substantially similar to the one under consideration, the court said: We think the fair interpretation of the language is that it relates to leases made and to be made by the defendants, and not to those which might be executed by subsequent owners of the land.  * * * * * * It seems clear that the title to the oil and*2936  gas did not pass to the plaintiff, for the defendants might have elected to develop the land themselves on their own account, in which event the plaintiff would have had no claim to the oil and gas produced.  Or, if they had seen fit to allow the land to remain undeveloped, there is nothing he could have done to derive a benefit from his assignment.  For the reasons stated the assignment could not transfer any present interest in future leases as there was no existing interest upon which it could operate.  Nor can the instrument operate as an enforceable contract to convey upon subsequent acquisition as it was signed by one party only and was without adequate consideration.  The record indicates that the petitioner and his wife had considered the wife as owning a one-half half interest in the lands since acquisition.  It seems a fair inference from the testimony that no pecuniary consideration, in fact, passed.  Even though we assume the recited consideration passed, it is nominal and insufficient to make enforceable an executory promise to convey, as such contract requires a valuable consideration.  *2937 ; ; ; ; ; ; ; ; ; ; Northrup v. Standifer, 15 Ky.L. 740; ; ; ; ; ; ; ; ; . For the same reason, inadequacy of consideration, it can not operate as a contract to share the royalty proceeds from the subsequent lease as they mature.  In , it can be inferred from the facts and opinion, though it is not expressly stated, that there was an adequate consideration.  The similar assignment in the cited case, whether legal or equitable*2938  being stated to be immaterial, was held a valid contract imposing the duty to divide the royalties when received.  The assignment in the instant case can not operate in such *132  executory fashion, as it at best is an executory promise without valuable consideration.  With the effect of the assignment thus determined, there remains only the question whether the royalties arising from such property rights are taxable to the husband alone, or should be divided between them for tax purposes.  Upon this question there have been a number of cases before the courts and before us.  In a number of the cases it has been held that the income is taxable in its entirety to the husband (or one standing in a position identical or comparable to that of the petitioner in this case).  ; ; ; ; ; ; *2939 ; ; ; ; ; ; ; ; ; ; . On the other hand it has been held that at least a part of the income is taxable to the wife (or one standing in a position identical or comparable to that occupied by petitioner's wife in this case).  ; , distinguishing ; , reversing Ashton Hamilton cited above; ; *2940 ; ; ; ; . In a related class of cases in which there was an alleged gift or transfer about the time of or prior to the sale, the cases turn upon the point whether the gift or transfer, if any, preceded the sale.  ; ; ; ; ; ; ; ; ; ; . The cases collected above are singularly free from conflict as to the principle governing the issue raised.  From them we conceive the rule to be that income per se can not be assigned to relieve the assignor*2941  of the tax levy, but, where the thing assigned was a property right, real or personal, productive of income, income thereafter arising from such property is income to the assignee by virtue of his ownership.  Applying the rule to this case, one-half of the royalty *133  income from the lease granted prior to the assignment was income to petitioner's wife and could be taxed only to her under our conclusion that the assignment conveyed to her one-half of the property in the right to receive royalty.  As to the lease executed subsequent to the assignment, no such property in the right to the royalty was conveyed to the wife and such royalty was income to petitioner as the owner of the property, irrespective of any disposition he may have made after its receipt.  We express no opinion as to whom royalties paid to an assignee in accordance with an executory contract as in , would be taxable, as no such question is presented under our conclusion upon that point.  It follows that the respondent, in taxing the whole of the royalty income to petitioner, erred to the extent of one-half of the royalties received from the earlier lease.  Reviewed*2942  by the Board.  Judgment will be entered under Rule 50.MURDOCK MURDOCK, dissenting: I dissent from a part of the foregoing opinion for the reason that in my judgment the husband in this case can only be said at most to have assigned the future income from his leases.  This does not relieve him from tax upon such income when derived from the leases.  STERNHAGEN agrees with this dissent.  